Case 9:12-cr-00027-MAC-ZJH           Document 237        Filed 10/01/12      Page 1 of 2 PageID #:
                                            644



                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §        CASE NO. 9:12-CR-27 (11)
                                                  §
 ELMORE THACKER                                   §


         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

 Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

 guilty plea, but defer acceptance of the plea agreement until the Court has had an opportunity to

 review the presentence report. He further recommended that the Court adjudge the Defendant guilty

 on Count Ten of the Indictment filed against the Defendant.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the Court has reviewed the presentence report. The Court ORDERS the Defendant’s attorney

 to read and discuss the presentence report with the Defendant, and file any objections to the report

 BEFORE the date of the sentencing hearing.




                                                -1-
Case 9:12-cr-00027-MAC-ZJH           Document 237         Filed 10/01/12      Page 2 of 2 PageID #:
                                            645



        It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

 magistrate judge’s findings and recommendation, the Defendant, Elmore Thacker, is adjudged guilty

 as to Count Ten of the Indictment charging violation of Title 18, United States Code, Section 924(c),

 Possession of a Firearm in Furtherance of a Drug Trafficking Crime.

        So ORDERED and SIGNED this 1 day of October, 2012.




                                                       ___________________________________
                                                       Ron Clark, United States District Judge




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